
812 A.2d 291 (2002)
372 Md. 136
In the Matter of the APPLICATION OF Jennifer Marie ALONSO for Admission to the Bar of Maryland.
Misc. No. 7, Sept. Term, 2002.
Court of Appeals of Maryland.
December 11, 2002.
Norman L. Smith, Baltimore, for appellant.
Argued before BELL, C.J., and ELDRIDGE, RAKER. WILNER, CATHELL, HARRELL and BATTAGLIA, JJ.

ORDER
The Court having considered the adverse recommendation of the Character Committee for the Seventh Appellate Circuit and the favorable recommendation of the State Board of Law Examiners, concerning Jennifer Marie Alonso's application for admission to the Bar of Maryland, and the oral argument of applicant's counsel presented at a hearing held before this Court on December 10, 2002, it is this 11th day of December, 2002
ORDERED, by the Court of Appeals of Maryland, a majority of the Court concurring, that the favorable recommendation of the State Board of Law Examiners be, and it is hereby, accepted, and the adverse recommendation of the Character Committee be, and it is hereby, rejected and it is further
ORDERED, that the applicant, Jennifer Marie Alonso, upon taking the oath prescribed by the statute, be admitted to the practice of law in this State, subject only to the filing of an updating oath.
